12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 6 of 15 Pg 1 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 6 of 15 Pg 2 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 6 of 15 Pg 3 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 6 of 15 Pg 4 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 6 of 15 Pg 5 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 6 of 15 Pg 8 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 10 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 12 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 13 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 14 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 15 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 16 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 17 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 18 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 19 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 20 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 21 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 22 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 23 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 24 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 25 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 26 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 28 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 29 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 31 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 32 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 33 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 6 of 15 Pg 34 of 35
12-12020-mg   Doc 2324-7 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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